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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CAROLOS DE OLIVEIRA,

         Defendants.
                                         /

                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer

  Review, and Discipline of Attorneys of the United States District Court for the Southern District

  of Florida, the undersigned respectfully moves for the admission pro hac vice of Emil Bove of the

  law firm of Blanche Law, 99 Wall Street, Suite 4460, New York, NY 10005, (212) 716-1250, for

  purposes of appearance as co-counsel on behalf of President Donald J. Trump in the above-styled

  case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to permit Emil

  Bove to receive electronic filings in this case, and in support thereof states as follows:

         1.      Emil Bove is not admitted to practice in the Southern District of Florida and is a

  member in good standing of the Bar of the State of New York.

         2.      Movant, Christopher M. Kise, Esquire, of the law firm of CONTINENTAL PLLC, 255

  Alhambra Circle, Suite 640, Coral Gables, Florida, 33134, (305) 677-2707, is a member in good

  standing of The Florida Bar and the United States District Court for the Southern District of Florida



                                         CONTINENTAL PLLC
                                 Miami – Tallahassee – Washington D.C.
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  and is authorized to file through the Court’s electronic filing system. Movant consents to be

  designated as a member of the Bar of this Court with whom the Court and opposing counsel may

  readily communicate regarding the conduct of the case, upon whom filings shall be served, who

  shall be required to electronically file and serve all documents and things that may be filed and

  served electronically, and who shall be responsible for filing and serving documents in compliance

  with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative

  Procedures.

         3.      In accordance with the local rules of this Court, Emil Bove has made payment of

  this Court’s $200.00 admission fee. A certification in accordance with Rule 4(b) is attached hereto.

         4.      Emil Bove, by and through designated counsel and pursuant to Section 2B CM/ECF

  Administrative Procedures, hereby requests the Court to provide Notice of Electronic Filings to

  Emil Bove at email address: emil.bove@blanchelaw.com.

         WHEREFORE, Christopher M. Kise, moves this Court to enter an Order for Emil Bove,

  to appear before this Court on behalf of President Donald J. Trump, for all purposes relating to the

  proceedings in the above-styled matter and directing the Clerk to provide notice of electronic

  filings to Emil Bove.

         Date: October 10, 2023                        Respectfully submitted,

                                                       s/ Christopher M. Kise
                                                       Christopher M. Kise
                                                       Florida Bar No. 855545
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                                                       Counsel for President Donald J. Trump




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